                                 No. 25-8018

              In The United States Court of Appeals
                     For the Third Circuit
     THOMSON REUTERS ENTERPRISE CENTRE GMBH and WEST
                PUBLISHING CORPORATION,
                   Plaintiffs-Respondents,
                                      v.
                          ROSS INTELLIGENCE INC.,
                             Defendant-Petitioner.

                     On Petition for Certification from the
           United States District Court for the District of Delaware
          Civil Action No. 20-613 (The Honorable Stephanos Bibas)


            MEMORANDUM OPINION GRANTING ROSS’S
                  SECTION 1292(b) MOTION


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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


THOMSON REUTERS ENTERPRISE
CENTRE GMBH and WEST PUBLISH-
ING CORP.,

                   Plaintiffs,
                                                    No. 1:20-cv-613-SB
            v.

ROSS INTELLIGENCE INC.,

                   Defendant.


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                               MEMORANDUM OPINION

   May 23, 2025




BIBAS, Circuit Judge, sitting by designation.

   Though I am still confident in my February 2025 summary-judgment opinion, the

questions here are hard. Interlocutory appellate review of two of them will resolve

the case more efficiently. That is why I granted Ross’s motion for interlocutory appeal

and stay pending appeal. D.I. 799. This opinion explains my reasoning underlying

that order.

              I. THE LEGAL ISSUES WARRANT INTERLOCUTORY APPEAL

   I may certify a § 1292(b) interlocutory appeal if there is (1) “a controlling question

of law” that presents (2) “substantial ground[s] for difference of opinion” about the

right answer so that an immediate appeal would (3) “materially advance the ultimate

termination of the litigation.” Katz v. Carte Blanche Corp., 496 F.2d 747, 754 (3d Cir.

1974) (en banc) (internal quotation marks omitted). Two issues in this case meet that

standard: (1) whether the West headnotes and West Key Number System are original

as a matter of law and (2) whether Ross’s alleged use of the headnotes was fair use.

D.I. 799. I certify both.

   1. Controlling question of law. A controlling question of law is one that, “if errone-

ous, would be reversible on appeal.” Katz, 496 F.2d at 755.



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   The originality issue qualifies. If I am wrong that both the headnotes and West

Key Number system are original, my February 2025 summary-judgment opinion

would be reversible on appeal because Thomson Reuters’s copyright claims may not

proceed without a showing of originality. Katz, 496 F.2d at 755. True, originality can

involve fact-heavy analysis inappropriate for interlocutory appeal; “§ 1292(b) is not

designed for review of factual matters.” Link v. Mercedes-Benz of N. Am., Inc., 550

F.2d 860, 863 (3d Cir. 1977). But the part of the dispute that I am certifying is a

question of law: How much “creative spark” is legally required for originality? Feist

Publications, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 345 (1991). This is an “over-

riding legal issue[ ]” about the appropriate scope of Feist and its progeny. Link, 550

F.2d at 863. So it is a “controlling question of law.” Katz, 496 F.2d at 754.

   So is fair use. If I am wrong, and Ross does a have a fair-use defense, my decision

would be reversible on appeal. Id. at 755. Though “[f]air use is a mixed question of

law and fact,” “[i]n this case, the ultimate ‘fair use’ question primarily involves legal

work.” Harper & Row, Publishers, Inc. v. Nation Enters., 471 U.S. 539, 560 (1985)

(first quotation); Google LLC v. Oracle Am., Inc., 593 U.S. 1, 24 (2021) (second quota-

tion). This scenario parallels the Second Circuit’s approach when it took a fair-use

case on interlocutory appeal where the factual record was already established below.

Am. Geophysical Union v. Texaco Inc., 802 F. Supp. 1 (S.D.N.Y. 1992) (Leval, J.) (cer-

tifying fair use for interlocutory appeal); 60 F.3d 913 (2d Cir. 1994) (accepting certi-

fication). In sum, both questions that I certify involve controlling questions of law.




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   2. Substantial ground for difference of opinion. There is “substantial ground for

difference of opinion” on both the originality and fair-use questions. Katz, 496 F.2d at

754. Substantial ground for difference of opinion means “doubt as to the correct legal

standard, such as conflicting precedent [or] the absence of controlling law.” Karlo v.

Pittsburgh Glass Works, LLC, No. 2:10-cv-01283, 2014 WL12539666 (W.D. Pa. July

3, 2014). The controlling law is unclear here: Our circuit has not yet spoken on this

“novel and difficult question[ ] of first impression.” Couch v. Telescope Inc., 611 F.3d

629, 633 (9th Cir. 2010) (internal quotation marks omitted). I have written two sum-

mary-judgment opinions in this case. D.I. 547; D.I. 770. My second opinion considered

the same precedents as the first but came out differently on both originality and fair

use. Though I am confident that my second opinion is correct, I acknowledge that

these questions are hard under existing precedent.

   3. Materially advancing the litigation. Resolving these questions on appeal now

will “materially advance the ultimate termination of the litigation.” Katz, 496 F.2d at

754. Section 1292(b) is a “flexible” procedure that pragmatically “avoid[s] the rigors

of the final-judgment rule.” 16 Charles Alan Wright & Arthur R. Miller, Federal Prac-

tice and Procedure §§ 3929–30 (3d ed. 2025). Congress created it so that a district

court staring down a trial that might rest on a legally erroneous premise could get

legal guidance before trekking down that path. Id.

   That is exactly the case here. The parties and the court face an expensive and

legally complex copyright trial. That trial would be unnecessary if I am wrong about

originality or fair use. And those questions are hard and close. So interlocutory appeal



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would “avoid protracted and expensive litigation” and “a long trial result[ing] from a

pretrial order erroneously” granting a “right to maintain the action.” Milbert v. Bison

Lab’ys, Inc., 260 F.2d 431, 433 (3d Cir. 1958); Katz, 496 F.2d at 754; see also Wright

& Miller, Federal Practice and Procedure § 3930 (advisability of interlocutory appeal

depends in part on “the substantiality of the burdens imposed on the parties by a

wrong ruling”).

                                          *****

   If the Third Circuit disagrees with anything laid out here and would like to modify

the certified questions, it has the full power to do so and still accept the interlocutory

appeal. Johnson v. Alldredge, 488 F.2d 820, 822–23 (3d Cir. 1973).

                  II. A STAY IS A REASONABLE BALANCE OF EQUITIES

   A § 1292(b) appeal does not automatically stay the District Court proceedings; ei-

ther the Third Circuit or I would first have to enter a stay. 28 U.S.C. § 1292(b). Stays

are “exercise[s] of judicial discretion.” Nken v. Holder, 556 U.S. 418, 433 (2009) (in-

ternal quotation marks omitted). My discretion to enter one is inherent in my power

to manage dockets to conserve judicial and litigant resources. Landis v. N. Am. Co.,

299 U.S. 248, 245–55 (1936); Commonwealth Ins. v. Underwriters, Inc. 846 F.2d 196,

199 (3d Cir. 1988).

   I find that a stay is appropriate here. Entering a stay will streamline this litiga-

tion, which is especially relevant here, given the point of § 1292(b). See CFPB v. Na-

vient Corp., 522 F. Supp. 3d 107, 120 (Md. Pa. 2021). Other District Courts have en-

tered stays pending interlocutory appeal to avoid unnecessary trials. See CFPB, 522



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F. Supp. 3d at 120 (collecting cases relying on this same reason). I follow that wise

approach.

   Neither party has asked me to consider the traditional stay factors, and other dis-

trict courts have not done so in similar situations. See, e.g., id. at 119–20 (granting a

stay of trial pending interlocutory appeal without considering the traditional stay

factors). But I find it prudent to consider them in any event. The traditional factors

are (1) the likelihood that appellant will win on the merits, (2) the likelihood of irrep-

arable injury to appellant without a stay, (3) whether the stay will substantially harm

the appellee, and (4) whether a stay serves the public interest. In re Revel AC, Inc.,

802 F.3d 558, 565 (3d Cir. 2015). Taking the first two factors independently and then

considering all four on a “sliding scale,” the factors weigh in favor of a stay. Id. at 571

(internal quotation marks omitted).

   First, for the same reasons that there is substantial ground for difference of opin-

ion on these issues, Ross has “a reasonable chance, or probability, of winning.” Id. at

568 (internal quotation marks omitted).

   Second, Ross is more likely than not to sustain irreparable injury from going to

trial. Id. at 569. Typically, “purely economic injury” from going to trial does not meet

this standard. Minard Run Oil Co. v. U.S. Forest Servs., 670 F.3d 236, 255 (3d Cir.

2011) (internal quotation marks omitted). But “an exception exists where the poten-

tial economic loss is so great as to threaten the existence of the movant’s business.”

Id. (internal quotation marks omitted). Ross has struggled financially preceding this

trial to the point that I conclude that this exception is met. D.I. 541 at 7 (explaining



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Ross’s financial bind). Enormous trial costs will be a much heavier burden because

Ross has a more precarious financial situation than a typical company, which could

potentially impair its ability to finance trial.

   Third, any harm that Thomson Reuters will suffer from the delay does not match

the potential harm to Ross without a delay. Revel, 802 F.3d at 569. True, justice de-

layed is justice denied, but a short delay to avoid the possibility of an unnecessary trial

benefits both parties. There is also a tort claim in this case, but it does not change my

analysis. Because the tort claim turns on the same alleged conduct as the copyright

claims, it would not be an efficient use of litigant or judicial resources to move forward

with a partial trial on the tort issues while awaiting interlocutory resolution of the

law underlying the copyright claims.

   Finally, the public interest favors staying this case. Id. The public does not benefit

from wasting court resources on a potentially needless trial. And given the quickly

growing importance of AI, the public will benefit from having the Third Circuit weigh

in promptly on AI’s copyright implications.

     III. I STAND BEHIND MY FEBRUARY 2025 SUMMARY-JUDGMENT OPINION

   I certify these questions and stay the case because having the Third Circuit weigh

in now will resolve this litigation more efficiently. But I still think that my recent

summary-judgment opinion was correct. I stand by my reasoning and highlight the

key points again.

   First, originality: Originality for factual compilations is a low bar, requiring only

“a minimal degree of creativity.” Feist, 499 U.S. at 345. Choosing which parts of a

judicial opinion are most important, then expressing that choice by compiling those
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parts as headnotes, meets that low bar. Matthew Bender, the Second Circuit case

relied on by Ross to resist this conclusion, is inapt. In that case, the Second Circuit

explicitly did not consider the originality of “syllabi, headnotes and key numbers.”

Matthew Bender & Co. v. West Publ’g Co. 158 F.3d 674, 677–78 (2d Cir. 1998). It

considered only the originality of adding factual matters, like alternative case cita-

tions and attorney information, to cases. Id. And the headnote compilations are far

different from those factual matters. Choosing which sentences in a judicial opinion

to highlight in a headnote requires “making non-obvious choices from among more

than a few options.” Id. at 682.

    The closer call on originality is whether individual headnotes—outside the con-

text of compilations—are themselves creative works. True, “facts are not copyrighta-

ble.” Feist, 499 U.S. at 344. But in my view, a headnote is more than mere fact. It

expresses an attorney editor’s interpretation of a judicial opinion. To create a head-

note, the attorney editor must identify what parts of an opinion are holding versus

dicta and what holdings matter most. See Google, 593 U.S. at 18 (noting that copy-

rights protect the expression of ideas, not the ideas themselves). This sort of case in-

terpretation can be hotly contested—as lawyers and judges well know. So the head-

notes are original.

   Second, fair use: There are four fair-use factors: (1) the use’s purpose and charac-

ter, including whether it is commercial or nonprofit; (2) the copyrighted work’s na-

ture; (3) how much of the work was used and how substantial a part it was relative




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to the copyrighted work’s whole; and (4) how the use affected the copyrighted work’s

value or potential market. 17 U.S.C. § 107(1)–(4).

   As for purpose and character, Ross’s use of Westlaw’s headnotes was not trans-

formative. Ross took the headnotes—a tool that identifies the important parts of a

large body of law—and created a competing legal search tool that identifies the im-

portant parts of a large body of law. Ross did not add “new expression, meaning or

message.” Google, 593 U.S. at 29 (internal quotation marks omitted). It instead “su-

persede[d] the objects of the original creation.” Andy Warhol Found. for the Visual

Arts, Inc. v. Goldsmith, 598 U.S. 508, 528 (2023) (internal quotation marks omitted).

So “the original work and [Ross’s] secondary use share the same or highly similar

purposes.” Id. at 532. Plus, Ross did this for commercial gain. See id. at 527, 532. So

“the first factor … weigh[s] against fair use.” Id. at 533.

   As for market, Ross was trying to create a product to compete with Westlaw. So

that makes factor four an easy win for Thomson Reuters. What matters here is “the

potential market for” the copyrighted work. 17 U.S.C. § 107(4) (emphasis added). And

Ross used the Westlaw headnotes to try to create a “market substitute” for Westlaw’s

work. Google, 593 U.S. at 35. True, there are public benefits from accessible legal

search tools, but there is no reason that Ross could not have created such a legal

search tool without deriving it from Westlaw’s copyrighted material.

   Though I found for Ross on factors two and three, those factors do not tip the scales

in Ross’s favor. Fair use is an “equitable” doctrine, and “some factors may prove more

important in some contexts than in others.” Id. at 18–19 (internal quotation marks



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omitted). They must be weighed together using “judicial balancing.” Id. at 19. Here,

the overarching context is that Ross created a non-transformative market substitute

for Westlaw. Factors one and four are thus most important.

                                        *****

   I certify this case for interlocutory appeal. Though I am still confident in my Febru-

ary 2025 summary judgment opinion, there are difficult legal questions about copy-

right and non-generative AI tools at the heart of this case. Addressing these questions

now will speed up resolving the case and benefit the public. Because appellate resolu-

tion of these questions would change the shape of trial—and possibly avoid a copyright

trial altogether—I stay this case pending the Third Circuit’s response.




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                   CERTIFICATE OF SERVICE

     I hereby certify that I electronically filed the foregoing with the

Clerk of the Court for the United States Court of Appeals for the Third

Circuit by using the appellate CM/ECF system on May 23, 2025. All

counsel of record are registered CM/ECF users, and service will be

accomplished by the CM/ECF system.



Dated: May 23, 2025                 /s/ Mark S. Davies             l
                                    Mark S. Davies
